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                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF ARKANSAS
                          FAYETTEVILLE DIVISION



CRIMINAL NO. 13-50002-003                USA v. GRISELDA MONROY

COURT PERSONNEL:                         APPEARANCES:

Judge: JIMM LARRY HENDREN                Govt. CLAY FOWLKES

Clerk: ALLI WINKLE/GAIL GARNER           Deft. RAY NIBLOCK

Reporter: THERESA SAWYER                 Interpreter: DEBBIE ANDRADE


                         SENTENCING MINUTE SHEET


     On this date the above named defendant appeared in person and
with counsel for sentencing and is sworn.

      (X)    Inquiry made that defendant is not under influence of
             alcohol or drugs and is able to comprehend proceedings.
      (X)   Inquiry made whether defendant is under the care of a
             physician or taking any medication and is able to
             comprehend proceedings.
      (X)    Inquiry made that defendant is satisfied with counsel.
      (X)    Court determined that defendant and counsel have had
             opportunity to read and discuss presentence investigation
             report.
      (X)   Presentence investigation report reviewed in open court.
      (X)    Government moves for downward departure pursuant to
             5K1.1 - granted and 4 level reduction awarded.
      (X)    Court expresses final approval of plea agreement.
      (X)    Counsel for defendant afforded opportunity to speak on
             behalf of defendant.
      (X)    Defendant afforded opportunity to make statement and
             present information in mitigation of sentence.
      (X)    Attorney for government afforded opportunity to make
             statement to court.
      (X)    Court proceeded to impose sentence as follows:

            48 months imprisonment; no supervised release to
            follow; $3,000.00 fine - interest waived.
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      (X)   Defendant ordered to pay total special assessment of
            $100.00, for count 5, which shall be due immediately.
      (X)   Defendant advised of right to appeal sentence imposed.
      (X)   Defendant advised of right to apply for leave to appeal
            in forma pauperis.
      (X)   Count 1 and forfeiture allegation dismissed on motion
            by the government.
      (X)   Defendant remanded to the custody of the USMS.



DATE: SEPTEMBER 5, 2013                  Proceeding began: 10:16 AM
                                                   Recess: 10:24 AM
                                                Reconvene: 11:06 AM
                                                    Ended: 11:39 AM
